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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                GREENBELT DIVISION


KILMAR ARMANDO ABREGO GARCIA, et al.,

                          Plaintiffs,
         v.

KRISTI NOEM, Secretary of the Department of          Case No. 8:25-cv-00951 (PX)
Homeland Security, et al.,

                          Defendants.




                 DECLARATION OF ACTING FIELD OFFICE DIRECTOR

                                         NIKITA BAKER

       Pursuant to the authority of 28 U.S.C. § 1746, I, Nikita Baker, Acting Field Office

Director for the U.S. Department of Homeland Security, U.S. Immigration and Customs

Enforcement, Enforcement and Removal Operations, Baltimore, Maryland, declare as follows:

   1. I work for the U.S. Department of Homeland Security (“DHS”), U.S. Immigration and

       Customs Enforcement (“ICE”), Enforcement and Removal Operations (“ERO”). As of

       March of 2025, I serve as the Acting Field Office Director for the ERO Baltimore Field

       Office.

   2. As an Acting Field Office Director, I direct and maintain oversight of all immigration

       enforcement operations, programs, and activities in all 23 counties in Maryland. As part

       of my oversight duties, I am responsible for leading efforts in identifying, arresting,

       detaining, pursuing for prosecution, and removing aliens who are in violation of the

       federal immigration statutes and regulations. My responsibilities include collaborating

       with law enforcement partners to arrest and remove dangerous criminal aliens from the
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   community in support of ICE’s public safety mission. The ERO Baltimore Field Office

   supports the local offices of our federal partners, including the Federal Bureau of

   Investigation (FBI), U.S. Marshals Service, and Drug Enforcement Administration

   (DEA).

3. Prior to being appointed to my current position, I served as the Deputy Field Office

   Director for the Baltimore Field Office, where I oversaw immigration enforcement

   operations and managed all personnel resources and budget for the field office for the

   entire state of Maryland. Additionally, I have over 18 years of service with ICE in

   various operational and leadership positions.

4. On December 7, 2021, the Maryland General Assembly enacted the Dignity Not

   Detention Act, which among other things: (1) prohibits the State of Maryland or any local

   jurisdictions from entering into agreements to house detainees for immigration purposes

   or facilitate immigration-related detention by private entities; and (2) requires

   governmental entities to terminate existing contracts for the detention of immigration-

   related detainees by October 1, 2022. H.B. 16, 442nd Gen. Assemb., Reg. Sess. (Md.

   2021). The Maryland General Assembly enacted this law despite a prior veto from then

   Maryland Governor Larry Hogan.

5. Prior to the Dignity Not Detention Act, ICE had access to four detention centers in

   Maryland. Currently, ICE has access to no detention centers in Maryland. All aliens that

   are arrested by ICE in Maryland are transferred to other ICE facilities outside the state of

   Maryland. ICE has no long-term detention beds in Maryland and has only temporary hold

   rooms, designed for detention for periods of 12 hours or less.




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Signed on the 30th day of June 2025.
                                                      NIKITA M          Digitally signed by
                                                                        NIKITA M BAKER

                                                      BAKER             Date: 2025.06.30
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                                                                        ________________
                                                  Nikita Baker
                                                  Acting Field Office Director
                                                  U.S. Immigration and Customs Enforcement
                                                  Baltimore, Maryland




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